     Case 1:21-cr-00053-CJN Document 52                Filed 03/08/22 Page 1 of 1
USCA Case #21-3066    Document #1938291                    Filed: 03/08/2022 Page 1 of 1


                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 21-3066                                                September Term, 2021
                                                                    1:21-cr-00053-CJN-1
                                                  Filed On: March 8, 2022 [1938291]
United States of America,

              Appellee

      v.

Edward Jacob Lang,

              Appellant

                                     MANDATE

      In accordance with the judgment of January 12, 2022, and pursuant to Federal
Rule of Appellate Procedure 41, this constitutes the formal mandate of this court.


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Daniel J. Reidy
                                                         Deputy Clerk




Link to the judgment filed January 12, 2022
